Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 1 of 26 PageID #: 1452




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  United States of America,



         -   v. -

                                                    19 Cr. 576 (BMC)
  Genaro Garcia Luna, et al.,

                                Defendant.




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT GENARO GARCIA
 LUNA’S: (1) MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CRIMINAL
 PROCEDURE 12(b); AND (2) MOTION FOR A BILL OF PARTICULARS PURSUANT
              TO FEDERAL RULE OF CRIMINAL PROCEDURE 7(f)
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 2 of 26 PageID #: 1453




                                            TABLE OF CONTENTS


 TABLE OF AUTHORITIES .......................................................................................................... ii

 I.    MR. GARCIA LUNA’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF
       CRIMINAL PROCEDURE 12(b) ........................................................................................... 1

          A.     PRELIMINARY STATEMENT.................................................................................. 1

          B.     RELEVANT FACTS ................................................................................................... 2

          C.     ARGUMENT ............................................................................................................... 4

                     1. A Motion to Dismiss Pursuant to Fed. R. Crim. Proc. 12(b) Prior to Trial Is
                          Appropriate Where the Relevant Facts as Assumed Are not in Dispute ........... 4

                     2. For Purposes of this Motion, Mr. Garcia Luna Withdrew From Any Alleged
                          Conspiracy in 2012 When he Left the Mexican Government ............................ 5

                     3. Mr. Garcia Luna’s Denial of Having Committed Prior Crimes Did Not
                          Reestablish a Link to the Charged Conspiracies............................................... 7

 II. MR. GARCIA LUNA’S MOTION FOR A BILL OF PARTICULARS PURSUANT TO
       FEDERAL RULE OF CRIMINAL PROCEDURE 7(f)........................................................ 13

          A.     PRELIMINARY STATEMENT................................................................................ 13

          B.     RELEVANT FACTS ................................................................................................. 13

          C.     TO PERMIT MR. GARCIA LUNA TO PROPERLY PREPARE HIS DEFENSE,
                 THE COURT SHOULD ORDER THE GOVERNMENT TO PROVIDE THE
                 DEFENSE WITH A BILL OF PARTICULARS, INCLUDING A LIST OF THE
                 NAMES OF ALLEGED UNINDICTED CO-CONSPIRATORS............................. 15
          D.     CONCLUSION .......................................................................................................... 22




                                                                    i
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 3 of 26 PageID #: 1454




                                               TABLE OF AUTHORITIES


 Cases

 Grunewald v. United States, 353 U.S. 391 (1957) ................................................................ 7, 9, 12

 Smith v. United States, 568 U.S. 106 (2013) ................................................................................... 5

 United States v. Allen, 492 F. App’x 273 (3d Cir. 2012) .............................................................. 11

 United States v. Barnes, 158 F.3d 662 (2d Cir. 1998) ................................................................... 16

 United States v. Bazezew, 783 F. Supp. 2d 160 (D.D.C. 2011) ..................................................... 18

 United States v. Berger, 224 F.3d 107 (2d Cir. 2000) ............................................................... 8, 10

 United States v. Bin Laden, 92 F. Supp. 2d 225 (S.D.N.Y. 2000) .......................................... 16, 17

 United States v. Borelli, 336 F.2d 376 (2d Cir. 1964) ............................................................... 6, 10

 United States v. Bortnovsky, 820 F.2d 572 (2d Cir. 1987) ................................................ 16, 17, 18

 United States v. Clarkson Auto Elec., Inc., No. 10 Cr. 6111G, 2014 WL 3906324

    (W.D.N.Y. Aug. 8, 2014) .......................................................................................................... 16

 United States v. Concord Mgmt. & Consulting LLC, 385 F. Supp.3d 69 (D.D.C. 2019) ............. 20

 United States v. Davidoff, 845 F.2d 1151 (2d Cir. 1988) .............................................................. 16

 United States v. Eisen, 974 F.2d 246 (2d Cir.1992) ...................................................................... 10

 United States v. Eppolito, 543 F.3d 25 (2d Cir. 2008) .................................................................... 5

 United States v. Goldberg, 401 F.2d 644 (2d Cir. 1968) ............................................................... 11

 United States v. Grammatikos, 633 F.2d 1013 (2d Cir.1980) ......................................................... 5

 United States v. Greenfield, 44 F.3d 1141 (2d Cir. 1995) ............................................................... 6

 United States v. Hoskins, 44 F.4th 140 (2d Cir. 2022) .................................................................. 11

 United States v. Ikoli, No. 16 Cr. 148 (AJN), 2017 WL 396681 (S.D.N.Y. Jan. 26, 2017) .......... 17




                                                                   ii
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 4 of 26 PageID #: 1455




 United States v. Jailall, No. 00 Cr. 69 (RWS), 2000 WL 1368055

    (S.D.N.Y. Sept. 20, 2000).................................................................................................... 17, 18

 United States v. Kang, 715 F. Supp. 2d 657 (D.S.C. 2010) ............................................................ 8

 United States v. Lino, No. 00 Cr. 632 (WHP), 2001 WL 8356 (S.D.N.Y. Jan 2, 2001) ............... 17

 United States v. Luna, No. 05 Cr. 58 (SRU), 2006 WL 1668006 (D. Conn. May 17, 2006) ........ 18

 United States v. Nachamie, 91 F. Supp.2d 565 (S.D.N.Y. 2000) ............................................ 18, 19

 United States v. Nerlinger, 862 F.2d 967 (2d Cir. 1988) .................................................... 9, 10, 11

 United States v. Sampson, 898 F.3d 270 (2d Cir. 2018).................................................................. 4

 United States v. Savin, No. 00 Cr. 45 (RWS), 2001 WL 243533 (S.D.N.Y. Mar. 7, 2001) ... 18, 19

 United States v. Sperling, 506 F.2d 1323 (2d Cir. 1974) .............................................................. 16

 United States v. Trie, 21 F. Supp. 2d 7 (D.D.C. 1998) .................................................................. 19

 United States v. Urso, 369 F. Supp. 2d 254 (E.D.N.Y. 2005) ....................................................... 17

 Statutes

 18 U.S.C. § 3282(a) ......................................................................................................................... 5

 21 U.S.C. § 848 ............................................................................................................................. 16

 Rules

 Fed. R. Crim Proc. 12(b) ....................................................................................................... 4, 5, 12

 Fed. R. Crim. Proc. 7(f) ........................................................................................................... 16, 21




                                                                       iii
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 5 of 26 PageID #: 1456




      I.        MR. GARCIA LUNA’S MOTION TO DISMISS PURSUANT TO FEDERAL
                            RULE OF CRIMINAL PROCEDURE 12(b)


                                  A. PRELIMINARY STATEMENT

           The first four counts of the superseding indictment must be dismissed. The indictment

 and the discovery provided by the government establish that: (1) Mr. Garcia Luna was charged

 more than five years after he left the Mexican government in 2012, before the time he is alleged

 to have assisted the charged conspiracies; (2) even if he was a member of the conspiracies, an

 allegation he vehemently denies, his retirement from public service in 2012 served as withdrawal

 from the charged conspiracies; and (3) a mere denial on an immigration from in 2018 that he

 previously committed crimes does not re-establish a link to the conspiracies.

           In a superseding indictment filed in July 2020, Genaro Garcia Luna was charged with

 participating in several overlapping conspiracies, international cocaine conspiracy, conspiracy to

 import cocaine, conspiracy to possess and distribute cocaine, and he was charged with being a

 member of a in a continuing criminal enterprise. These charges all relate to the same alleged

 conduct, that Mr. Garcia Luna, first as head of Mexico’s Federal Investigations Agency (2001-

 2005) and then as Mexico’s Secretary of Public Security (2006-2012), conspired with the Sinaloa

 drug cartel and its narcotics trafficking activities by accepting bribes in exchange for lenient law

 enforcement. Although the superseding indictment claims that the conspiracy between Mr.

 Garcia Luna and the cartel extended from 2001 to the present, the government has never alleged

 that Mr. Garcia Luna engaged in any conspiratorial conduct after 2012, when he left the Mexican

 government and moved to the United States to pursue a private career, except for denying in one

 question of a 2018 immigration form that he had ever committed crimes, for which he was not

 arrested. Even if Mr. Garcia Luna had participated in a conspiracy with the Sinaloa cartel



                                                  1
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 6 of 26 PageID #: 1457




 between 2001 and 2012, which he did not, it is evident that by retiring from public life and

 leaving Mexico in 2012, Mr. Garcia Luna withdrew from any alleged conspiracy. The statute of

 limitations for the offenses with which Mr. Garcia Luna is charged is five years. Because he was

 not charged until December 2019, more than five years after his retirement in 2012, and because

 a mere denial of having committed crimes does not reestablish a link to any conspiracy, the first

 four counts of the indictment should be dismissed.

                                      B. RELEVANT FACTS

        The parties agree that Mr. Garcia Luna served as head of Mexico’s Federal Investigations

 Agency from 2001 to 2005, and as Mexico’s Cabinet Secretary for Public Security between 2006

 and 2012. It is also undisputed that Mr. Garcia Luna very publicly retired from his prominent

 position in the Mexican government when the administration of Mexican President Felipe

 Calderon ended in 2012. See e.g. Govt. Memorandum in Support of First Motions in Limine,

 ECF Doc. 94, filed 6/15/22, at 4 (acknowledging that Mr. Garcia Luna left public life in 2012

 and moved to Miami, Florida to pursue work in the private sector that same year).

        The government’s general theory of Mr. Garcia Luna’s culpability is summed up in its

 memorandum in support of its first motions in Limine:

        While holding public office, the defendant used his official positions to assist the
        Sinaloa Cartel, a notorious Mexican drug cartel, in exchange for multimillion-
        dollar bribes. . . Between at least 2001 and 2012, the defendant used the political
        power that he gained from his official positions to assist the Sinaloa Cartel in
        exchange for tens of millions of dollars in payments. . . During the time that the
        defendant protected the Sinaloa Cartel in exchange for bribes, the cartel was able
        to send multi-ton drug loads to the Eastern District of New York, including
        Brooklyn and Queens. In 2012, the defendant relocated from Mexico to Miami,
        Florida, where he continued to conceal his corrupt assistance to the Sinaloa
        Cartel. In 2018, he submitted an application for naturalization to the Department
        of Homeland Security (“DHS”). In that paperwork, the defendant falsely denied
        any past criminal conduct.




                                                  2
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 7 of 26 PageID #: 1458




 Id. at 2-4; see also Gov. Detention Memo, ECF. Doc. 4, filed 12/10/19 at 3 (“Evidence obtained

 by law enforcement has revealed that, while he was a public official in Mexico, the defendant

 received millions of dollars in bribes from the Sinaloa Cartel in exchange for providing

 protection for its drug trafficking activities.”) (emphasis added).

        As noted, Mr. Garcia Luna’s position as a public law enforcement official in Mexico

 ended in 2012. He moved to Miami and lived life as a private citizen. In 2013, shortly after his

 arrival in the United States, he was granted permanent legal residency. In 2018, he applied for

 United States citizenship. As part of the application process, Mr. Garcia Luna completed a

 lengthy questionnaire. Question No. 22 on the questionnaire asked the following: “Have you

 ever committed, assisted in committing, or attempted to commit, a crime or offense for which

 you were not arrested.” Mr. Garcia Luna checked the box “no.” See Discovery Bates No.

 0000000279, attached as Exhibit “A”. The government points to this question and Mr. Garcia

 Luna’s answer to suggest that he “falsely denied any past criminal conduct.” See Gov.

 Memorandum in Support of First Motions in Limine, at 4.

        On December 4, 2019, the government obtained an indictment against Mr. Garcia Luna

 charging him with participation in an international cocaine distribution conspiracy in violation of

 21 U.S.C. §§ 963, 960(b)(l)(B)(ii); conspiracy to possess and distribute cocaine, in violation of

 21 U.S.C. §§ 846 and 841; conspiracy to import cocaine in violation of 21 U.S.C. §§ 952(a) and

 960(a); and making false statements in his naturalization application in violation of 18 U.S.C. §

 1001. Mr. Garcia Luna was arrested on December 10, 2019, and has remained detained since

 that time. On July 30, 2020, the government obtained a superseding indictment, which added

 two co-defendants to Mr. Garcia Luna’s case, and additionally charged him with participating in

 a continuing criminal enterprise in violation of 21 U.S.C. § 848.



                                                   3
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 8 of 26 PageID #: 1459




                                            C. ARGUMENT

     1. A Motion to Dismiss Pursuant to Fed. R. Crim. Proc. 12(b) Prior to Trial Is Appropriate
                       Where the Relevant Facts as Assumed Are not in Dispute

        A motion to dismiss under Fed. R. Crim Proc. 12(b) prior to trial can be decided by the

 Court when there are no factual disputes between the parties. Accordingly, although Genaro

 Garcia Luna absolutely and unequivocally denies the allegations and charges in the superseding

 indictment, for purposes of this motion he accepts the government’s allegations as true.

        There is no factual dispute that Mr. Garcia Luna left his public position in the Mexican

 government in 2012 and moved to the United States. Moreover, the retirement was publicly

 known, was widely reported in the media, and therefore reasonably reached members of the

 Sinaloa drug cartel. Everyone in Mexico knew that the administration of President Felipe

 Calderon had ended and that Mr. Garcia Luna was therefore no longer a member of the Mexican

 government. According to the prosecution, Mr. Garcia Luna’s only involvement in the

 conspiracies was the alleged assistance he provided the cartel as a member of the Mexican

 government. Therefore, Mr. Garcia Luna’s public retirement from government constituted

 withdrawal from the alleged conspiracy.

        For the first four counts of the superseding indictment not to be foreclosed by the statute

 of limitations, the government has to point to activities by Mr. Garcia Luna after December 4,

 2014, that furthered the objectives of the alleged conspiracy. In its pleadings, the government

 has identified only one such alleged act: the allegedly false claim by Mr. Garcia Luna in his

 naturalization application that he had not committed crimes in the past.

        The question of law to be resolved by this Court before trial is whether Mr. Garcia

 Luna’s undisputed denial of prior crimes is sufficient to reestablish a link to the alleged

 conspiracy. See e.g. United States v. Sampson, 898 F.3d 270, 278–79 (2d Cir. 2018) (“To be

                                                   4
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 9 of 26 PageID #: 1460




 clear, Rule 12(b) allows a party to raise by pretrial motion any defense, objection, or request that

 the court can determine without a trial on the merits. In some circumstances, moreover, a party

 may raise and establish a statute-of-limitations defense via a Rule 12(b) motion. . .”). Here,

 because the relevant facts are not in dispute (Mr. Garcia Luna’s public resignation from the

 Mexican government in 2012 and his denial of prior crimes on the naturalization questionnaire),

 the Court can and should resolve this legal question before trial.

     2. For Purposes of this Motion, Mr. Garcia Luna Withdrew From Any Alleged Conspiracy
                            in 2012 When he Left the Mexican Government

        In this case, Mr. Garcia Luna asserts that even if he had been a member of the charged

 conspiracies, which he was not, his resignation from his position in the Mexican government in

 2012, constituted a withdrawal from any such conspiracy and the first four counts of the

 superseding indictment are therefore time-barred.

        Pursuant to the statute of limitations, 18 U.S.C. § 3282(a), the prosecution of a narcotics

 conspiracy is barred unless the government obtains an indictment charging the offense within

 five years after it was committed. To determine whether an indictment charging

 a narcotics conspiracy falls within the statute of limitations period “the conspiracy may be

 deemed terminated when, in a broad sense, its objectives have either been accomplished or

 abandoned.” United States v. Grammatikos, 633 F.2d 1013, 1023 (2d Cir.1980). Alternatively,

 even if the conspiracy is not concluded, “[a] defendant who withdraws [from the

 conspiracy] outside the relevant statute-of-limitations period has a complete defense to

 prosecution.” Smith v. United States, 568 U.S. 106, 107 (2013). In United States v. Eppolito,

 543 F.3d 25, 49 (2d Cir. 2008), the Second Circuit Court of Appeals summarized the withdrawal

 defense as follows:




                                                  5
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 10 of 26 PageID #: 1461




         For a defendant to show that he withdrew from the conspiracy, proof merely that
         he ceased conspiratorial activity is not enough. He must also show that he
         performed some act that affirmatively established that he disavowed his criminal
         association with the conspiracy, either the making of a clean breast to the
         authorities, or communication of the abandonment in a manner reasonably
         calculated to reach co-conspirators. And the defendant must not take any
         subsequent acts to promote the conspiracy or receive any additional benefits from
         the conspiracy.

  (internal citations and quotation marks omitted)1; see also United States v. Borelli, 336 F.2d 376,

  388 (2d Cir. 1964) (withdrawal requires an affirmative action such as “communication of the

  abandonment in a manner reasonably calculated to reach co-conspirators.”).

         Mr. Garcia Luna’s public resignation from government, his departure from public life,

  and his move to the United States all were sufficient to “reasonably” reach any alleged co-

  conspirators. The end of the Calderon administration and the election of a new government in

  2012, were widely reported in the media and well-known to every Mexican citizen. Mr. Garcia

  Luna served as Mexico’s equivalent of the U.S. Secretary for Homeland Security in the Calderon

  administration, and it was therefore well known that his term in that post concluded with the end

  of the administration. Given the prominence of his position and its end, it is also obvious that

  members of the Sinaloa cartel who allegedly benefitted from Mr. Garcia Luna’s powerful

  position understood that those benefits ended with his resignation.

         The government seemingly concedes this point, stating that Mr. Garcia Luna’s alleged

  actions on behalf of the Sinaloa cartel all took place during his time in the Mexican government.

  See Gov. Memorandum in Support of First Motions in Limine at 2-4; Gov. Detention


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    As the Second Circuit has stated, “the point of such ‘affirmative evidence’ requirements,
  though, is not to compel a conspirator to inform on his or her co-conspirators or to warn-off
  possible victims, admirable as those actions might be. It is rather to make sure that a withdrawal
  did occur and is not simply being invented ex post.” United States v. Greenfield, 44 F.3d 1141,
  1150 (2d Cir. 1995). Here, there is no dispute that Mr. Garcia Luna publicly resigned from his
  position in the Mexican government and entered private life.

                                                   6
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 11 of 26 PageID #: 1462




  Memorandum at 3 (“Evidence obtained by law enforcement has revealed that, while he was a

  public official in Mexico, the defendant received millions of dollars in bribes from the Sinaloa

  Cartel in exchange for providing protection for its drug trafficking activities.”) (emphasis added).

  Indeed, nowhere in the superseding indictment, in any other pleading, or in the discovery does

  the government argue that Mr. Garcia Luna took any affirmative actions in furtherance of the

  narcotics conspiracy after 2012.

        3. Mr. Garcia Luna’s Denial of Having Committed Prior Crimes Did Not Reestablish a
                                  Link to the Charged Conspiracies

     Having failed to allege that Mr. Garcia Luna committed any acts in furtherance of the

  conspiracies after 2012, the government appears to suggest that his general answer about prior

  crimes on an immigration form in 2018 somehow re-established his link to the conspiracies. The

  government cannot show that Mr. Garcia Luna’s participation in the conspiracies was even

  feasible after 2012, and its claim that a general denial of criminal conduct sufficiently connected

  him back to the conspiracies is incorrect.

         In 1957, the Supreme Court thoroughly analyzed the question of whether concealment of

  a conspiracy can constitute an act in furtherance of the conspiracy. In Grunewald v. United

  States, 353 U.S. 391 (1957), the court rejected the government’s theory that an agreement to

  conceal a conspiracy should be deemed part of the conspiracy and could extend its duration for

  statute of limitations purposes. The court cautioned:

         allowing such a conspiracy to conceal to be inferred or implied from mere overt
         acts of concealment would result in a great widening of the scope of conspiracy
         prosecutions, since it would extend the life of a conspiracy indefinitely. Acts of
         covering up, even though done in the context of a mutually understood need for
         secrecy, cannot themselves constitute proof that concealment of the crime after its
         commission was part of the initial agreement among the conspirators. For every
         conspiracy is by its very nature secret; a case can hardly be supposed where men
         concert together for crime and advertise their purpose to the world. And again,
         every conspiracy will inevitably be followed by actions taken to cover the

                                                   7
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 12 of 26 PageID #: 1463




         conspirators' traces. Sanctioning the Government's theory would for all practical
         purposes wipe out the statute of limitations in conspiracy cases, as well as extend
         indefinitely the time within which hearsay declarations will bind co-conspirators.


  Id. at 399; see also e.g. United States v. Kang, 715 F. Supp. 2d 657, 675 (D.S.C. 2010)

  (“Moreover, it defies common sense to suggest that concealment is not fundamental in every

  conspiracy. The court rejects the government's contention that somehow the concealment

  alleged in this case is different or unique, rather than part and parcel of any conspiracy to commit

  accounting fraud.”).

         Because concealment suggests the hiding of something specific, the undisputed facts here

  arguably do not even rise to “concealment.” Mr. Garcia Luna was asked a generic question on a

  standard naturalization questionnaire about whether he had previously committed any crimes for

  which he had not been arrested. He responded, “no.” The form did not ask about specific ties to

  the Sinaloa drug cartel, he did not conceal the names of other members of the alleged conspiracy,

  he did not mislead investigators who were specifically examining the activities of the cartel or

  send them in some fruitless direction. A generic denial of having committed crimes did nothing

  to further the objectives of the charged conspiracies.

         These undisputed facts set Mr. Garcia Luna’s case apart from United States v. Berger,

  224 F.3d 107 (2d Cir. 2000), in which the Second Circuit found that an act of concealment did

  extend the life of the conspiracy. In Berger, the defendants were purported to be employed in an

  institution called Toldos Yakov Yosef Seminary (TYY), which was supposed to serve as a

  school for children in a Hassidic community and had received $11 million in Pell Grants from

  the government. Id. at 111-112. TYY was a sham and existed only on paper, designed to

  defraud the government. In 1991, defendant Goldstein officially resigned from TYY and

  notified government funders of that resignation. At trial, Goldstein argued that his resignation,

                                                   8
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 13 of 26 PageID #: 1464




  which occurred more than five years before the indictment, constituted a withdrawal from the

  conspiracy. In affirming the jury’s rejection of that defense, the Second Circuit pointed to

  statements Goldstein made to a DOE investigator in 1996. According to the Court,

          Goldstein lied to law enforcement agents by falsely stating that he had worked as
          TYY’s Administrator, falsely identifying other supposed administrators, and
          falsely describing the supposed educational offerings at the sham school. Even if
          Goldstein truly severed all ties to the conspiracy after his resignation in 1991,
          these lies—which occurred well within the five-year period preceding the filing of
          the indictment—reestablished his link by helping to conceal the conspiracy from
          investigators.

  Id. at 119.

          Goldstein’s actions, however, were fundamentally different than Mr. Garcia Luna’s

  generic denial of having previously committed any crimes. Mr. Garcia Luna’s denial was not

  directed at investigators examining the precise conduct for which he was later accused, he did

  not conceal the identities of co-conspirators, and he did not falsely misrepresent the activities of

  the cartel. Even if Mr. Garcia Luna had been involved in a criminal conspiracy until 2012, his

  blanket denial was, as the Supreme Court said, “nothing more than that the conspirators do not

  wish to be apprehended—a concomitant, certainly, of every crime since Cain attempted to

  conceal the murder of Abel from the Lord.” Grunewald, at 405–06.

          Indeed, this case is much more akin to United States v. Nerlinger, 862 F.2d 967, 974 (2d

  Cir. 1988), in which the Second Circuit agreed that Nerlinger’s resignation and subsequent lack

  of activities in support of the conspiracy constituted withdrawal. Nerlinger was a trader in the

  New York office of First Commodity Corporation of Boston, Inc. (FCCB). He was eventually

  drawn into a criminal conspiracy with his co-defendants to defraud account holders of FCCB.

  “According to the indictment, the principal objective of the conspiracy was to defraud legitimate

  customers of FCCB by assigning profitable trades to the salesmen's accounts. Nerlinger's role in



                                                    9
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 14 of 26 PageID #: 1465




  that scheme was to open and maintain an account at FCCB into which DeAngelis could direct

  trades in exchange for fifty percent of the profits.” Id. at 974. At a certain point, Nerlinger

  resigned from FCCB and closed the account through which the fraud had occurred. Id. at 970.

  At trial, Nerlinger argued that his resignation from FCCB and closing of the account constituted

  withdrawal from the conspiracy. The Second Circuit agreed:

          By closing his FCCB account, Nerlinger foreclosed his continuing in that role and
          relinquished any claim to subsequent profits. The only question is whether his
          closing of the account constitutes an “affirmative action” in light of the rules that
          mere cessation of conspiratorial activity is not enough, and that withdrawal must
          be accompanied by a communication of the abandonment in a manner reasonably
          calculated to reach co-conspirators. Nerlinger’s closing of the account does
          satisfy this standard because it disabled him from further participation and made
          that disability known to DeAngelis. That is enough. Nothing in Borelli or any
          other case requires the hiring of a calligrapher to print formal notices of
          withdrawal to be served upon coconspirators.


  Id. at 974.

          Likewise, Mr. Garcia Luna resigned from the Mexican government (where he allegedly

  had the power to assist the Sinaloa cartel), left the country and entered private life. These

  circumstances “disabled him from further participation,” and the government has made and will

  make no claim that he took any further actions on behalf of the alleged conspiracy other than to

  deny criminal conduct in a standard application.2 In other words, while resignation from the



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    To the extent that the government claims, as it has done obliquely in other pleadings, that Mr.
  Garcia Luna’s participation in the charged conspiracies somehow also continued past his
  resignation from public office in 2012 because he allegedly continued to live off the fruits of his
  criminality, that is a meritless argument. The Second Circuit has stated that a “defendant still
  may remain a part of the conspiracy if he or she continues to do acts in furtherance of
  the conspiracy and continues to receive benefits from the conspiracy's operations,” not if those
  benefits were received before withdrawal but remnants of the funds remained after withdrawal.
  Berger, 224 F.3d at 119 (emphasis added). See also United States v. Eisen, 974 F.2d 246, 269
  (2d Cir.1992) (the defendant's resignation from the conspiring law firm was not sufficient to
  constitute a withdrawal because he “continued to be entitled to a percentage of the recovery on

                                                   10
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 15 of 26 PageID #: 1466




  conspiracy without more is not enough to constitute withdrawal, the creation of circumstances

  where continued participation was not feasible certainly is. It is pointless for the cartel to bribe a

  private person with no governmental powers. See United States v. Hoskins, 44 F.4th 140, 156

  (2d Cir. 2022) (noting that in Nerlinger “it was not solely the defendant's resignation that

  constituted withdrawal, but rather the fact that the defendant also closed an account used to

  perpetuate fraud.”); see also United States v. Goldberg, 401 F.2d 644, 648 (2d Cir. 1968) (“[I]n

  Scheftel's case there is more than the mere absence of evidence of activity after the cutoff date;

  there is uncontroverted, affirmative evidence that Scheftel abandoned the illegal enterprise in a

  manner reasonably calculated to reach co-conspirators.”) (internal citation and quotation marks

  omitted). Mr. Garcia Luna’s denial of any criminal conduct in one question on an immigration

  form is insufficient to establish that he re-established a connection with the charged conspiracies.

         Accordingly, the government has made clear that its entire theory is that through his

  powers as a prominent government official, Mr. Garcia Luna assisted the activities of the Sinaloa

  Cartel in exchange for bribes. That assistance was foreclosed when he retired from public life in

  2012, a fact well known and obvious to the Sinaloa Cartel. The government has not alleged that

  Mr. Garcia Luna took bribes or assisted the cartel in any other way once he was in private life.

  Accordingly, for the reasons described above, even when viewed in the light most favorable to

  government, Mr. Garcia Luna withdrew from the alleged conspiracies in 2012.




  all cases he tried including those giving rise to his pre-[resignation] racketeering acts.”); United
  States v. Allen, 492 F. App’x 273, 278 (3d Cir. 2012) (“Although Allen claims that he withdrew
  from the conspiracy before December 3, 2004, five years before the government obtained the
  Indictment charged in the conspiracy, we find that Allen did not affirmatively withdraw from the
  conspiracy prior to the SOL. There was testimony from one of the FBI Special Agents that RRG
  received wire transfers for funds from March 23, 2004 to December 7, 2004.”).

                                                   11
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 16 of 26 PageID #: 1467




         Furthermore, Mr. Garcia Luna’s denial of criminal conduct on his 2018 naturalization

  form was insufficient to reconnect him to the charged narcotics conspiracies. That blanket denial

  could have had no impact whatsoever on the goals of the conspiracies and it is inconceivable

  under Grunewald that this denial could constitute an act in furtherance of the conspiracy.

  Therefore, the statute of limitations precludes prosecution of the first four counts of the

  superseding indictment and they should be dismissed pursuant to Rule 12(b) of the Federal Rules

  of Criminal Procedure.




                                                   12
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 17 of 26 PageID #: 1468




            II.     MR. GARCIA LUNA’S MOTION FOR A BILL OF PARTICULARS
                   PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 7(f)

                                  A. PRELIMINARY STATEMENT

          The Court should order the government to produce a detailed bill of particulars, including

  the names of unnamed coconspirators and trial witnesses. Such production is necessary for the

  defense to adequately prepare and avoid surprise at trial. The defense has reviewed thousands of

  documents containing millions of pages, and hundreds of hours of audio and video recordings.

  To date, we have yet to encounter any evidence demonstrating Mr. Garcia Luna’s involvement in

  the charged conspiracy. Moreover, given the breadth of the conspiracy charged, the lack of

  detail in the indictment and the lack of probative materials in the government’s vast discovery

  materials, it is impossible for Mr. Garcia Luna’s lawyers to adequately prepare for trial without

  additional particulars from the government. Other than allegations made by a cooperator at the

  Guzman Loera trial that Mr. Garcia Luna allegedly accepted millions in cash from a cartel

  member over 15 years ago, the defense has no idea what alleged conduct by Mr. Garcia Luna the

  government intends to prove at trial. Although the government has told the defense that the

  specific alleged criminal conduct by Mr. Garcia Luna will become clear in the 18 U.S.C. § 3500

  materials, the government now states that it will not produce that material until shortly before the

  trial. Without the specific information sought herein, counsel are forced to mount a defense

  without knowing what to defend against, and such a position runs afoul of Mr. Garcia Luna’s

  constitutional rights.

                                        B. RELEVANT FACTS

          Mr. Garcia Luna was arrested in Dallas, Texas on December 9, 2019. The government

  has charged Mr. Garcia Luna with participating in an eighteen-year international narcotics

  conspiracy involving more than 50 tons of cocaine. The indictment alleges that Mr. Garcia Luna

                                                  13
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 18 of 26 PageID #: 1469




  used his position as a high-level official in the Mexican government to protect and further the

  drug trafficking activities of the Sinaloa Cartel in exchange for multi-million-dollar bribes.

  While the indictment includes six specific instances of cocaine distribution in which Mr. Garcia

  Luna is alleged to have conspired, the indictment does not contain specific acts that would give

  rise to criminal liability by Mr. Garcia Luna. To date, the only specific allegation against Mr.

  Garcia Luna of which the defense is aware comes from the cross-examination of a cooperating

  witness who testified against Mr. Guzman Loera in November 2018. That individual offered the

  dubious testimony that Mr. Garcia Luna, a well-known Mexican government official, met in a

  public restaurant with a leader of the Sinaloa Cartel and received $3 to $5 million in a bag. The

  government has not provided discovery that establishes the existence of these alleged funds, let

  alone traces them to Mr. Garcia Luna.

         Pursuant to Rule 16, the government has produced over 1,200,000 pages of discovery and

  audio recordings. With most of these documents bearing little to no relation to Mr. Garcia Luna,

  by letter dated April 15, 2022, defense counsel requested a bill of particulars from the

  prosecution to help avoid a trial surprise. See letter annexed hereto at Exhibit “B.” The

  government responded on May 1, 2022, stating that the specific information being sought by the

  defense would be found in § 3500 material and that the government would “identify those

  materials that can be produced to you well in advance of trial on a rolling basis for early

  disclosure[.]” Letter annexed hereto at Exhibit “C” (emphasis added). Contrary to this

  representation, during the most recent status conference on July 15, 2022, the government

  expressed that it does not intend to turn over any additional § 3500 material until close to the trial

  date. See Hearing Tr. at 8-9. It offered as a basis for its change of position the false accusation




                                                   14
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 19 of 26 PageID #: 1470




  that in responding to the government’s first motions in Limine, the defense engaged in witness

  intimidation and attempted to try the case in the press.

         The Court found that the defense engaged in no misconduct in its response. See Dkt. No.

  117 at 4-5.

         After more than thirty-three months since Mr. Garcia Luna was arrested and detained,

  and after the production of more than 1 million pages of discovery, the government has not yet

  disclosed a single piece of evidence suggesting he undertook any act in furtherance of the

  charged conspiracy beyond the general allegation that he received bribes in exchange for

  providing some kind of unspecified assistance to drug traffickers at some point or points during

  an eighteen-year time period. The government has yet to produce any evidence of payments,

  shipments, laundered funds, or even orders given by Mr. Garcia Luna in furtherance of the

  alleged conspiracy. Without the particular information requested herein, the defense is forced to

  wait until close to the trial date when the government turns over the majority of the § 3500

  material which is estimated to be an additional 7,500 mostly single-spaced pages and 4,900 audio

  recordings of unknown length. By taking this approach, the government is ensuring that the

  defense is limited to preparing its defense in earnest only on the eve of trial while the

  government has had years to prepare.

       C. TO PERMIT MR. GARCIA LUNA TO PROPERLY PREPARE HIS DEFENSE,
           THE COURT SHOULD ORDER THE GOVERNMENT TO PROVIDE THE
          DEFENSE WITH A BILL OF PARTICULARS, INCLUDING A LIST OF THE
                NAMES OF ALLEGED UNINDICTED CO-CONSPIRATORS

         In order to provide Mr. Garcia Luna with a constitutionally protected defense pursuant to

  the Sixth Amendment to the United States Constitution, avoid unnecessary trial surprise, and

  provide him with a fair and just trial, the Court should order the government to provide Mr.

  Garcia Luna with a bill of particulars.

                                                   15
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 20 of 26 PageID #: 1471




          Pursuant to Federal Rule of Criminal Procedure 7(f), the Court may order the government

  to file a bill of particulars. The government should provide the defense with particulars when it

  is needed for it to prepare its defense. See United States v. Bortnovsky, 820 F.2d 572, 574, 575

  (2d Cir. 1987); see also United States v. Bin Laden, 92 F. Supp. 2d 225, 234 (S.D.N.Y. 2000).

          When the allegations in an indictment are broad in scope, a bill of particulars is especially

  appropriate. See United States v. Clarkson Auto Elec., Inc., No. 10 Cr. 6111G, 2014 WL

  3906324, at *2 (W.D.N.Y. Aug. 8, 2014) (citing United States v. Barnes, 158 F.3d 662, 666 (2d

  Cir. 1998) (finding bill of particulars appropriate where “a conspiracy count covers a complex

  series of events over a number of years” but denying the claim under harmless error); United

  States v. Davidoff, 845 F.2d 1151, 1154-55 (2d Cir. 1988) (“The decision to grant or deny a bill

  of particulars is within the sound discretion of the district court.”).

          Where, as is the case here, an individual is charged with violating 21 U.S.C. § 848, the

  government must prove that the individual “occupied a position as organizer or a managerial or

  supervisory position with respect to a continuing narcotics trafficking operation in concert with

  five or more other persons, and that he received substantial income or resources from the

  operation.” United States v. Sperling, 506 F.2d 1323, 1344 (2d Cir. 1974). A bill of particulars

  may be necessary in order for the government to satisfy this exacting standard and for the

  defense to be in position to adequately defend against such charges. Id. at 1344-45 (affirming §

  848 conviction where “[t]he indictment as amplified by the bill of particulars made it crystal

  clear” to the defendant what the nature of the government’s case was “and afforded him an

  opportunity fairly and adequately to prepare his defense.”).

          For Mr. Garcia Luna’s defense team to properly prepare for trial, the Court should order

  the government to amplify the superseding indictment with a bill of particulars The superseding



                                                    16
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 21 of 26 PageID #: 1472




  indictment alleges an eighteen-year conspiracy dating back to 2001, and yet provides virtually no

  details regarding the acts allegedly committed by Mr. Garcia Luna in furtherance of that

  conspiracy. Similarly, the government has produced mountains of discovery material which,

  after a thorough review by defense counsel, provides no evidence or documents implicating Mr.

  Garcia Luna in any criminal conduct, and the government has not provided any meaningful

  guidance as to which materials might be relevant to him.

         Furthermore, the government cannot hide behind its production of millions of pages of

  documents as part of its Rule 16 obligations as a rationale for failing to provide the defense with

  particulars. Voluminous discovery only supports the rationale for a detailed bill of particulars.

  See Bin Laden, 92 F. Supp. 2d at 234 (“It is no solution to rely solely on the quantity of

  information disclosed by the Government; sometimes, the large volume of material disclosed is

  precisely what necessitates a bill of particulars.”). Numerous courts in this Circuit have

  recognized that voluminous discovery is not a substitute for a bill of particulars. “[A] bill of

  particulars is appropriately granted where the government’s pre-trial discovery disclosures are so

  voluminous that the defendant remains in the dark about the specific acts of which he is

  accused.” United States v. Urso, 369 F. Supp. 2d 254, 271–72 (E.D.N.Y. 2005) (citing

  Bortnovsky, 820 F.2d at 575). “[T]he Government cannot meet its burden by dumping

  voluminous discovery upon the defendants without any sort of guidance.” United States v. Ikoli,

  No. 16 Cr. 148 (AJN), 2017 WL 396681, at *6 (S.D.N.Y. Jan. 26, 2017) (citing Bortnovsky, 820

  F.2d at 575 and United States v. Jailall, No. 00 Cr. 69 (RWS), 2000 WL 1368055, at *8

  (S.D.N.Y. Sept. 20, 2000)); see also United States v. Lino, No. 00 Cr. 632 (WHP), 2001 WL

  8356, at *4 (S.D.N.Y. Jan 2, 2001) (“The Second Circuit nevertheless has made clear that the

  Government does ‘not fulfill its obligations merely by providing mountains of documents to



                                                   17
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 22 of 26 PageID #: 1473




  defense counsel who were left unguided’ as to the nature of the charges pending) (citing

  Bortnovsky, 820 F.2d at 574). A bill of particulars can be “necessary to bring focus to the

  massive amounts of discovery produced and the lengthy, open-ended conspiracy charged.”

  United States v. Luna, No. 05 Cr. 58 (SRU), 2006 WL 1668006, at *3 (D. Conn. May 17, 2006).

  In Jailall, the court would have granted the defense a bill of particulars but the government had

  included detailed charts within the discovery summarizing and analyzing the voluminous bank

  records. 2000 WL 1368055, at *8.

         In United States v. Savin, No. 00 Cr. 45 (RWS), 2001 WL 243533 (S.D.N.Y. Mar. 7,

  2001), Judge Sweet granted, in part, the defense request for a bill of particulars and held that the

  defendant was entitled to more information in order for him to prepare for and not be subject to

  surprise at trial. The government had produced 85 boxes with more than 100,000 pages. Citing

  Bortnovsky and United States v. Nachamie, 91 F. Supp.2d 565, 571 (S.D.N.Y. 2000) and others,

  Judge Sweet reasoned:

         In [Nachamie], a bill of particulars was ordered where the defendants were
         charged with conspiracy to commit Medicare fraud, and the government
         “produced over 200,000 pieces of paper in hundreds of boxes and files, relating to
         2,000 Medicare claims.” The [Nachamie] court noted that the government had
         “not yet informed the defendants which of these claims were false and in what
         way they were false,” and, relying on Bortnovsky, ordered a bill of particulars
         specifying the names of unindicted co-conspirators, the identity and details of
         each and every allegedly false claim submitted and/or filed as part of the
         conspiracy, and the identity and details of the allegedly false documents used in
         the conspiracy.

  Savin, 2001 WL 243533, at *3. Judge Sweet found that, without more particulars, the defendant

  would be forced to comb through a mountain of documents and to attempt to guess which of the

  numerous transactions over a six-year period were alleged by the government to be illegal. Id.

         In United States v. Bazezew, 783 F. Supp. 2d 160, 168 (D.D.C. 2011), the court ordered

  the government to provide a bill of particulars that included at least the following:

                                                   18
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 23 of 26 PageID #: 1474




         (1) a description of any overt act taken by each of the 16 remaining defendants . . .
         ; (2) the identities of all persons the government claims to have been co-
         conspirators during the course of the alleged conspiracy, regardless of whether
         they have been indicted or previously have pled guilty and regardless of whether
         they will be called as trial witnesses; and (3) the approximate date of any
         conversations between any of the 16 remaining defendants and any purported co-
         conspirators.

  783 F. Supp. 2d at 168–69.

         In addition to the general particulars necessary to illuminate the charges in this extremely

  broad conspiracy, the Court has the discretion to also order the government to provide the

  defense with the names of unnamed and unindicted co-conspirators. Although disclosure of

  unnamed co-conspirators is “not warranted as a matter of routine,” there is nothing “routine”

  about an indictment that charges a prominent public official with taking bribes from the very

  same actors that he investigated and fought as part of a decade-long career in law enforcement.

  Savin, 2001 WL 243533, at *5. Judge Sweet’s decision in Savin lists factors that courts might

  consider in determining whether to order disclosure of such information:

         In determining whether a defendant is entitled to the names of his unnamed co-
         conspirators, the following factors have been considered useful: (1) the number of
         co-conspirators; (2) the duration and breadth of the alleged conspiracy; (3)
         whether the government has otherwise provided adequate notice of the
         particulars; (4) the volume of pretrial disclosure; (5) the potential danger to co-
         conspirators and the nature of the alleged criminal conduct; and (6) the potential
         harm to the government’s investigation.

  Id. (citing Nachamie, 91 F. Supp. 2d at 572 and United States v. Trie, 21 F. Supp. 2d 7, 22

  (D.D.C. 1998) (granting request for names of unindicted co-conspirators where there were

  approximately 18 such persons, some of whom defendant may never have met, and conspiracy

  lasted more than three years)).

         Ultimately, Judge Sweet ordered the government to provide the defense with the names

  of unindicted co-conspirators, holding that:



                                                  19
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 24 of 26 PageID #: 1475




         [t]he number of unindicted co-conspirators is potentially quite large, as no fewer
         than six corporations, each with its own personnel, was potentially involved in the
         alleged “intercompany transfers.” The conspiracy may have spanned up to six
         years. The notice of the particulars of the charges provided by the indictment is
         not sufficient, as discussed above. The pretrial disclosure has been
         extraordinarily voluminous. There is no evidence of danger to co-conspirators,
         and, indeed, related civil actions concerning the same underlying events are being
         prosecuted without incident in this regard. Finally, the government does not
         contend that its investigation may be harmed and, given the extensive
         investigation which has already been accomplished due to the civil litigation, any
         such harm would be negligible.

  2001 WL 243533, at *5.

         In United States v. Concord Mgmt. & Consulting LLC, 385 F. Supp.3d 69, 74-75 (D.D.C.

  2019), the court held that, despite a thorough indictment listing twenty-six overt acts, a bill of

  particulars, including the names of uncharged co-conspirators, was necessary. In ordering the

  disclosure of co-conspirators, the court noted that “this case, however, is not the typical case.”

  Id. at 75. Like the instant case, Concord Mgmt. involved an international conspiracy carried out

  largely on foreign soil by at least thirteen individuals beyond jurisdiction of the court. The

  government had produced voluminous discovery with much of it restricted due to national

  security concerns. Despite the detailed indictment, the defense was not in a position to identify

  co-conspirators before trial, and the court therefore ordered the government to disclose a list of

  the alleged unnamed co-conspirators. See id. at 75-76.

         Here, too, the Court should order the government to disclose the names of alleged co-

  conspirators as part of its bill of particulars. Mr. Garcia Luna is entitled to a vigorous defense,

  which includes a thorough investigation of the facts. Most alleged co-conspirators, if not all, are

  located in Mexico, which creates additional hurdles for the defense investigation. If the

  government discloses the names of alleged co-conspirators only on the eve of trial, it will be

  practically impossible to conduct an adequate investigation because there will be no time to



                                                   20
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 25 of 26 PageID #: 1476




  travel to Mexico to attempt to interview potential witnesses and unindicted co-conspirators.

  Without receiving this information within a reasonable period before the start of the trial, the

  defense is hamstrung and cannot adequately represent Mr. Garcia Luna.

         Accordingly, the Court should exercise its discretion and order the government to provide

  a detailed bill of particulars including a list of unnamed/unindicted co-conspirators. When this

  request was made directly to the government in a letter dated April 15, 2022 (see Exhibit B), the

  government responded with no particulars and simply stated that such information would

  become apparent with the disclosure of its § 3500 material. See Exhibit C. That material will

  not, apparently, be turned over until close to the start of trial. See July 15, 2022 Hearing Tr. at 8-

  9. The government’s current position not only contradicts its initial representation to the

  defense, which was its rationale for not providing further particulars, but it is contrary to the

  standard practice employed by the government for complex trials in this Circuit. Given the

  anticipated length of the trial combined with the enormous duration and breadth of the alleged

  conspiracy, the government’s refusal to provide the defense with any specific information about

  Mr. Garcia Luna’s alleged criminal conduct deprives counsel of the opportunity to mount an

  adequate defense.

         Pursuant to Federal Rule of Criminal Procedure 7(f), the defense respectfully requests the

  Court to order the government to provide the defense with a detailed bill of particulars, as set

  forth in Exhibit B, which should also include the names of all alleged indicted and unindicted co-

  conspirators. Disclosure of this information is necessary to provide Mr. Garcia Luna with an

  adequate and constitutionally required defense.




                                                    21
Case 1:19-cr-00576-BMC Document 123-1 Filed 10/14/22 Page 26 of 26 PageID #: 1477




                                           D. CONCLUSION

          For the forgoing reasons, this Court should: (1) dismiss the first four counts of the

  indictment; and (2) if it denies the motion to dismiss, order the government to provide a bill of

  particulars.



  Dated: October 14, 2022

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                                                   22
